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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                     *
vs.                                               *    Case No.: 22-15 APM
THOMAS E. CALDWELL                                *
         *      *       *      *      *       *        *      *        *       *     *
             UNOPPOSED REQUEST TO AMEND CONDITIONS OF RELEASE


         COMES NOW, the Defendant, Thomas E. Caldwell, by and through his attorney, David

W. Fischer, Esq., and respectfully requests that the Court amend the conditions of release in this

matter, and in support of said motion states as follows:

      1. Assistant U.S. Attorney Kathryn Rakoczy does not oppose the instant request.

      2. The Defendant is scheduled to have an MRI on his neck on March 15, 2023 at 10:30 a.m.

         in Martinsburg, West Virginia.

      3. The MRI procedure cannot be conducted while the Defendant is wearing an ankle

         monitor.

      4. The Defendant requests permission to remove and reattach his ankle monitor as approved

         by Pretrial Services for his MRI appointment.

      WHEREFORE, the Defendant respectfully requests that the Court authorize, with the

approval of Pretrial Services, the temporary removal of the Defendant’s location monitor for his

MRI appointment on March 15, 20234 at 10:30 a.m. in Martinsburg, West Virginia.

                                                                 /s/
                                                       David W. Fischer, Esq.
                                                       Federal Bar No. 023787
                                                       Law Offices of Fischer & Putzi, P.A.
                                                       Empire Towers, Suite 300
                                                       7310 Ritchie Highway
                                                       Glen Burnie, MD 21061
                                                       (410) 787-0826
                                                       Attorney for Defendant
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                               CERTFICATE OF SERVICE
       I HEREBY CERTIFY that on this 6th day of March, 2023, a copy of the foregoing
Unopposed Request to Amend Conditions of Release was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:

Counsel for the Government:                 Office of the United States Attorney
                                            555 4th Street, NW
                                            Washington, DC 20001

                                                           /s/
                                                   David W. Fischer, Esq.
